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     I   -,




              KANSAS DEPARTMENT OF CORRECTIONS INMATE GRIEVANCE FORM
INMATE COMPLAINT
Inmate's Name /3£UA-tvt,lf i(!oj_JL1-($ ,4/LCv \..U ·
                                                                                              :0        ~J._..
                                                                                                          Number {205..S ~:.;5·q
Facility      l (!,F bn- ~                          Housing Unit      !1:-I-J-5f
                                                                      q_
                                                                                                          Work Detai1 -!J,« -?1J,ij1/Nd:
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UNIT TEAM RESPONSE (Complete and return to inmate within 10 calendar days.)
         I have investigated your concerns outlined in the attached grievance. 44-15-101 Grievance Procedure; Informal Resolution;
         formal levels; (b) states, 'Before utilizing the grievance procedure, the inmate shall be responsible for attempting to reach an
         informal resolution of the matter with the personnel who work with the inmate on a direct or daily basis. An inmate in a facility
         or parole setting shall contact the unit team members for the attempt at informal resolution. You are encouraged to wait for the
         informal resolution prior to submitting the grievance. You need to submit an informal on a form 9 not the grievance form. No
         further action deemed necessary at this time




INMATE RESPONSE (Complete and return to Unit Tea
_ _ _ I am satisfied with the Unit Team response and wish to withdraw my formal grievance.
- -~ I am not satisfied with the Unit Team response, and wish to forward to the Warden's office. (This must be done
wit · 3 calendar days .) Date fo1J:;arded to Warden's Office (to be completed by staff).
                -~                       Vh?/4/µptJ             (   ~ ---7                                    /     -   I ) - ~P;)-,;>
Inmate Signature                                                                                             Date


'WARDEN RESPONSE (Com    ~ ete, attach response and return within 10 Working days.)
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                                                                                                                 ~                       ge I    ·
Inmate's Signature                                    Date      Unit Team Signature                                   Date
If dissatisfied with this response, the inmate may appeal to the Secretary of Corrections within three (3) calendar days of
receipt of this decision from the Warden.                               S""t:.£, ~e-11£;tl                                                       ·
TO BE COMPLETED BY STAFF ONLY
Grievance Serial Number
Type of Complaint (Item 4: Code 01-75)
Cause of Complaint (Item 5: Code 01-30)
Ty.Pf of Response (Item 6a: Code 0 1,02,08 or 0~
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     Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 2 of 24




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                             Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 3 of 24
Befo_re the ·Pandemic, the Original Crisis: Mental Health Services ...   https://www.ncchc.org/blog/before-the-pandemic-the-original-cris ...


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              < back to   all blog posts




              Before the Pandemic, the Original Crisis:
              Mental Health Services
              From September 25, 2020 in Health Ca re, Mental Hea lth


              By Brent Gibson, MD, MPH, CCHP-P, Managing Director, NCCHC Resources and
              William Elliott, PhD, Correctional Mental Health Consultant and Trainer


              As the pandemic continues to challenge and stress our nation's public health
              infrastructure, jail and prison health care has been thrust into the spotlight. It's
              important to remember, however, that before COVID-19, jails were at the center of
              another national health crisis: lack of community mental health services.


              At NCCHC, we've been working with the nation's law enforcement leaders in this
              area for many years. In 2019, we partnered with the Major Count y Sheriffs of
              America and the Department of Justice Office of Community Oriented Policing
              Services on Sheriffs Addressing the Mental Health Crisis in the Community and
              in the Jails.


              Since the research leading to that report, we have worked closely with many jails .
             to overcome challenges with mental health services. Through evaluations,
              monitoring, and technical assistance, we are seeing improvements and want to
              share the most effective practices.


              First, NCCHC maintains a broad definition of "special needs" patients. This includes
             those with chronic disease, including mental health diagnoses. As a result, we are
             seeing programs appropriately expand their definitions to include not just the
             most seriously mentally ill but also those regularly receiving mental health
             services. This is critical because patients who experience clinical improvement are
             far less likely to be lost to follow-up. It also is a more fine-tuned approach to

1 of3                                                                                                                 10/30/2020, 11 :1 8 AM
                          Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 4 of 24
Before the. Pandemic, the Original Crisis: Mental Health Services .. .   https ://www.ncchc.org/b log/before-the-pandemic-the-original-eris ...


              In high-performing programs, the case manager meets with patients soon after
              admission, and at regular intervals thereafter, for the express purpose of
              addressing reentry issues. In exceptional programs, we also see the discharge
              planner documenting all phone and digit_
                                                     al contacts with community-based
              mental health providers and social service agencies.


              Let us close by thanking our tireless correctional mental health workforce. Around
              the country, in the midst of a pandemic and associated economic and social
              pressures, our psychiatrists, psychologists, social workers, licensed professional
              counselors, nurses, and countless others are not losing sight of the behavioral
              health problems that are so common in jails and prisons. In doing so, they are not
              only improving quality of life for patients, but also for staff and communities. They
              are also saving lives. Keep up the fight.




              For more information, contact the authors at info@ncchcresources.org




3 of3                                                                                                                   10/30/2020, 11:18 AM
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  W orlc Assignment - -~ •                                                                                                                                                                                                   Last Name Only
  Interview Requests

                                                                               KANSAS DEPARTMENT OF . CORRECTIONS

                                                                                                                                                                                                                                           Number
                                INMATEREQUESTTOSTAFFMEMBER
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                                               Date:.=-.;
                                  (Name and Title of Officer or Department)
                                        State comp1ete1y_but briefly the prob]em on which you desire assistance. (Be specific.)


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 Comment: _ _ _ _ _ _ _ _ _ _ _ _ _ Unit Team Members Signature: _ _ _ _ _ _ _ _ _ __




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                                             (Name & Number)


Disposition: __,,f,_.'),,c:,,_,,(.-ecrq::....cL:.__~fu~.:._
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      &~~                          Employee's Signature                                                                                                                                                To be returned to inmate.
P-0009b                                                              ·                                  ,,,,. /)   j--('
                                                                                                   / ff / /
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 ~                   Kansas Department
                                                 Policy Number: P-A-08a          Page 3 of 6
                     of Corrections
centurion'"          Policies and Procedures



Subject: HIP AA Compliance




   g. The Final Privacy Rule states that while individuals are in a correctional facility or
      in the lawful custody of a law enforcement official, covered entities (for example,
      the prison's clinic) can use or disclose Protected Health Information about these
      individuals without authorization to the correctional facility or the law enforcement
      official having custody as necessary for:

       •   Provision of healthcare to such individuals
       •   Health and safety of individual or other patients
       •   Health and safety of the officers, of employees, or of others at the
           correctional institution
       •   Health and safety of individuals and officers or other persons responsible for
           transporting patients or their transfer from one institution or facility to another ·
       •   Law enforcement on the premises of thE3 correctional institution
       •   The administration and maintenance of the safety, security, and good order of
           the correctional inst_itution. This section is intended to allow, for example, a
           medical provider to disclose to a van driver transporting a patient that the
           individual is a diabetic and frequently has sei~ures, as well as inform~tion
           about the appropriate action to take if the individual has a seizure while
           he/she is being transported
       •   Covered entities are allowed to-disclose Protected Health Information about
           individuals if correctional institution or law enforcement official represents that
           Protected Health lnformc;1tion is necessary

   h. The Privacy Rule establishes that an individual has the right to review "designated
      record sets" of his/her Protected Health Information. The Rule supports the right of
      review of the information by patients but does not require the correctional agency to
      provide the patient copies of his/her Protected Health Information. Under special
      circumstances, patient requests for copies of Protected Health Information may be
      denied by the correctional institution or covered entity. A patient request for copies
      of Protected Health Information may be denied when:

       •   Obtaining a copy would jeopardize the health, safety, security, custody or
           rehabilitation of the individual or other patients or the safety of any officer
           employee or other person at the correctional institution or responsible for
           transporting the patient
       •   These determinations are made in collaboration with the KDOC and in most
           cases involve consultation with the KDOC's legal counsel
       •   Even though such denials may be made, a personal representative may
           obtain access· on the patient's behalf in some cases in which denial has been
           made to the patient. For example, a patient may be denied a copy of
           Protected Health Information, but a personal representative may obtain
           access on the individual's behalf



                                                                                    July 01, 2020
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Dear Patient,

You were recently tested for COVID-19 with a Nasal swab. This is a Diagnostic or PCR test used to
diagnose people who are currently sick with COVID-19.

This test is the most reliable test that we have for the COVID-19. Swabs can sometime fail to pick up
signs of active infection.

It is possible that a large proportion of the population will have COVID-19 yet have no symptoms at all.
This appears to occur more often in the healthiest and younger age groups. COVID-19 positive
individuals may still spread the virus during the time that they are asymptomatic {no symptoms).

Your test was NEGATIVE for COVID-19.

This means that you do not currently have COVID-19. You may get COVID-19 if you are exposed to a
COVID-19 positive individual.

If you develop:

    ►    Fever
    ►    Chills, Shaking
    ►    Body Aches
    ►    Muscle Aches
    ►    Headache
    ►    Sore throat
    ►    Cough
    ►    Shortness of Breath
    ►    Loss of taste or smell
    ►    Diarrhea

NOTIFY MEDICAL IMMEDIATELY!

In the meantime:

     ►   Use your mask when out of your cell
     ►   Cover your cough or sneeze
     ►   Wash your hands frequently for at least 20 seconds with soap and water
     ►   Keep your distance when possible, 6 feet
     ►   Your cell house will stay on quarantine until there are two consecutive weeks without a positive
         in the cell house.



Stay safe and take care,

Kansas Department of Corrections

Your Medical Care Team
          Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 8 of 24




Dear Patient,

You were recently tested for COVID-19 with a Nasal swab. This is a Diagnostic or PCR test used to
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Stay safe and take care,

Kansas Department of Corrections

Your Medical Care Team
           Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 9 of 24


Health Services Request Form

                                                                             For Medical Use Only
                                                                            S61o para uso medico
                                                                       Date Received: I
                                                                       Time Received: /

 Print Name (lmprimir nombre):
 Date of Request:
 ID#:    j'~3 'f !J'l.(
 Housing Lo ·        Ubicaci6          · ·     ·




 I consent to be treated by health staff for the condition described.
 (Da su consentimiento para ser tratada por el personal de salud para la condici6n descrita.)
 I understand that my requesting health services does not necessarily mean that I agree that I should be
 assessed a charge for healthcare services. If I disagree with any charges assessed, I understand I may
file a grievance with the Warden as per KAR 44-15-101 et seq. I understand that a $2.00 fee will be
·assessed for any sick call visit and any non-emergency visit to health care staff if it is not a follow-up
visit or referral.
 (Entiendo que mi solicitud respect de recibir servicios de salud no necesariamente inplica que estoy de
 acuero en que se me cobren cargos por dichos servicios de salud. Comprendo que, en caso de no
 estar de acuero con el cobro de algun cargo, puedo presenter un reclamo ante el Alcalde, de
 conformidad con l;:is reg!amentc1ciones del KAR 44-15-101 et seq. Tengo entendido que el personal de
 salud cobrara un arancel de $2.00, por cualquier visita a un enfermo o visita que no sea de ugencia, si
 nose trata de una visita de seguimiento o por una derivaci6n.)




                         Place the slip in medical request box or designated area.
                        (Pon este articulo en la caja medica u otra area designada.)
                       Do not write below this area. (No escribe debajo de esta area.)

          (Original - Medical Record, Yellow Copy- Inmate/Patient, Pink Copy- Business Office)

     (The area below is not tq be~s~d
                                   for education, counseling~r documenting a clinical encounter)
 Triaged by: ~ ~                                    _ [il,R9;J1in    □ Urgent         □ Emergent
 Date:        ~ \1                                 Time:    U
 Date of Face-to-Face Visit:            -                 ----C;_._~--------------1
 Other:
                Response Recommendation (to be completed by Medical Staff only)
 Initial_ □ Nurse    □ Doctor    □ Dentist   □ Eye Doctor     &.ental Health                    □ ARNP
 Appointment □ Nurse    □ Doctor  □ Dentist    □ Eye Doctor    □ Mental Health                  □ ARNP
 Fee Charge   □ $2.00
 Comments:



                                                                                  •      Date




Centurion: REC-013KS
07/01/2020
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 HEALTH SERVICES REQUEST FORM                                                                                                 Time Received:
                                                                                                                                                                                                             □ Mental Health                 □ Eye Doctor
 (Formulario de Solicitud de Servicios de Salud)                                                                                                                                                             Salud Mental                    Medico de los ojos



 Print Name (lmprimir nombre):
 Date of Request (Fecha de solicitud):                                           ;2 O
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(Entiendo que mi solicitud respecto de recibir servicios .de salud no necesariamente implica que estoy de acuerdo en que se me cobren carg_o~~
J:)0r dichos servicios de salud. Comprendo que, en caso de no estar de acuerdo con el cobra de algun cargo\puedo presentar un reclamo ante 7;;;.
el•Alcalde, de conformidad con las reglamentaciones del KAR 44-15-101 et seq. Tengo entendido que el personal de salud cobrara un arancel
dC $2.00, por cualq uier vi.Sita a un enfer~o O visita que no sea de urge7jzi ,no~tra;:e una vi~::~e 'seguimiento O por una derivaci6n.)

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                                           ~~-                                                                                                PATIENT,SlGNATtlRE (~~ciente Firma)


 PLACE THIS SLIP IN MEDICAL REQUEST BOX OR DESIGNATED AREA (Pon este articulo en la caja medica u otra area designada.)
                            DQ NOT WRITE BELOW THIS AREA (No escriba debajo de esta area.)

                                                (Original - Medical Record                     Yellow Copy- Inmate/Patient Pink Copy-Business Office)


(THE AREA BELOW IS NOT TO BE USED FOR EDUCATION, COUNSELING, OR DOCUMENTING A CLINICAL ENCOUNTER)
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Called Down at: ________ (for urgent issue)

Other: ___________;____________________________________
Response Recommendation (to be completed by Medical Staff Only)
Initial            Nurse      '"--.0
                                  D Doctor                  D Dentist                                                                                               D Eye Doctor                                      □ Mental Health               □ ARNP
Appointment      D Nurse           D Doctor                 D Dentist                                                                                               D Eye Doctor                                      D   Mental Health             □ ARNP
Fee Charge       D $2.00
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NA7141-KS-DOC                                                                                                                                                                                                                           ©2013 Corizon Health, Inc.
Issued 01/06/2013
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                                                                                                                           For Medical Use Only
                                                                                                                           S6Io para uso medico
                                                                                                                      Date Received:
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 Print Name (lmprimir nombre):
 Date of Re uest:
 ID#: -"--'"---=--- ' - - - ' - - - - - - - - - Date of Birth (Fecha de nacimiento):
 Housing Location (Ubicaci6n de la vivienda):         / _.. ·,---=---.,-1 _ _· •- '-/'---------'-=----------------,-',-==-=:-=--:-~ •
 Nature of problem or request (Naturaleza del problema o solicitud):
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 I consent to be treated by health staff for the condition described.
 (Da su consentimiento para ser tratada por el personal de salud para la condici6n descrita.)
 I understand that my requesting health services does not necessarily mean that I agree that I should be
 assessed a charge for healthcare services. If I disagree with any charges assessed , I understand I may
 file a grievance with the Warden as per KAR 44-15-101 et seq. I understand that a $2.00 fee will be
 assessed for any sick call visit and any non-emergency visit to health care staff if it is not a follow-up
 visit or referral.
 (Entiendo que mi solicitud respect de recibir servicios de salud no necesariamente inplica que estoy de
 acuero en que se me cobren cargos por dichos servicios de salud . Comprendo que, en caso de no
 estar de acuero con el cobro de algun cargo, puedo presenter un reclamo ante el Alcalde, de
 conformidad con las reglamentaciones del KAR 44-15-101 et seq. Tengo entendido que el personal de
 salud cobrara un arancel de $2.00, por cualquier visita a un enfermo o visita que no sea de ugencia, si
 nose trata de una visita de seguimiento o por una derivaci6n.)




                                                Place the slip in medical request box or designated area.
                                               (Pon este articulo en la caja medica u otra area designada.)
                                              Do not write below this area. (No escribe debajo de esta area.)

                (Original - Medical Record, Yellow Copy - Inmate/Patient, Pink Copy- Business Office)

      (The area below is rot to be used for education, counseling or documenting a clinical encounter)
                         ( .. 1~        h.                        =          □ Urgent       □ Emergent
 Triaged by:
 Date: '1
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                                                            1 i::5 Routine
                                                        Time:
 Date of Face-to-Fae~ Visit:
 Other: -f--,~               I
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                   Response Recommendation (to be completed by Medical Staff only)
 Initial       Nurse      □ Doctor         □ Dentist   □ Eye Doctor        □ Mental Health      □ ARNP
 Appointment -0 Nurse          □ Doctor     □ Dentist   □ Eye Doctor       □ Mental Health      □ ARNP
 Fee Charge      Q $~ 6       ,i. - '([
 Comments:




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Centurion : REC-013KS
07/01/2020                                                                                                                              centurion.
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     Fonr 9
     r.n. Cellhouse Transfer
     Work Assjgnment _ _ _ _ _ _ _ _ _ __                                                                                   Last Name Only
     Interview Requests

                                                KANSAS DEPARTMENT OF CORRECTIONS

                                                                                                                                     Number




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    Comment: _ _ _ _ _ _ _ _ _ _ _ _ Unit Team Members Signature:                             pP~



    To:    ----------fa
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                Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 13 of 24




                                                        FAX TRANSMITTAL SHEET
                                                        FAX NUMBER (785) 368-6362
                                                       PHONE NUMBER (785) 296-8586

     From: University of Kansas Medical Center
           Director of Health Care Compliance Office

     To:       Centul'ion Regional Office
               ATTN: Kara Fiske

     Date:     9/1/2020                                                       Grievance#: CA2 l 864

     Offender Name: BELLAMY, RONNIE #53454                                   SITE: El Dorado Correctional Facility

     Reason for request: Grievance, Family, Offender, Warden, Gov, Office, Other
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                             lrr.,,....r..._
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                                                               L.:      C: :~     :i                                                            .,,/ .-, _; ;--1_~

                 t.:J   DENTAL                 t.:J   MEDICAL     ~j BEHA.VIOR.ALHEALTH                                  rt)/",:.,(.', ..                'i   -r      ,        /            1 '''/




     Tllis informn tion is requested at the direction of Jeff Cowger, Chief Legal Counsel for                         KDi~- ;- /;J (tt: ,b''./:;/,:','/'
~J   Please provide requested information regarding the following complaints: Issue witb being enrolled in a certain
     group/program; staff complaint; issue with receiving supplies for group.                                     ~· ,
                                                                                                                                                          i::---

     X Did the offender have any consults pertaining to complaint(s)? If yes, provide documentation
     X Are there any referrnl(s) approval/denials pertaining to complaints?
     X If there is approval for an outside consult/service, provide name of provider and date of appointment.
     X Was the offende1· seen by the site dental/physician./psychiatdst regarding his/her complaint(s)?
     X Has the offender complied with all recommendations? Provide signed/witnessed copies ofrefusals.
                                                                                                                                                                     '             \.:.


                                                                                                                            ':}ti' ; ~-
     X Provide lab information pertaining to complaint(s)
     X Provide any X-Rays, scans/mammogram if any pertaining to complaint(s)

~    MARS -- Last 30 Days                                                                                                    >. ~~~ l,¼·<)                           ~ ·1 -~
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~ PLEASE PROVIDE ADDITIONAL INFORMATION TO THE FOLLOWING QUESTIONS:

           •   What are any Diagnoses relating to the concerns? What are any associated treatment plans?
           •   Has the offender been evaluated by a physician? If so, what were the findings / recommendations?                                               ("          \.       ~':::-
           •   Is a specialty consult indicated for this offender? Why or why not?                                                                                                     1   ~,I


           •   Please provide any other pertinent details relating to the concerns.

     Provide completecl Release of Medical Information consent (05-107-001) authol'izing information r.:
     be released to: __ __ please fill out releasing entity as KDOCIKUMC - please fill out for verbal a11-d written
     communication - Thank you.

     Please respond by: _9/8/2020_ attention matel'ial to Whitney Barancik.
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DATE:

ATTENTION:         UNIVERSITY OF KANSAS PHYSICIANS INC.
                   DIRECTOR OF HEALTHCARE OFFICE

TO:                ATTN: Jeff Cowger
                   Chief Legal Counselor for KDOC

Inmate Name: BELLAMY, Ronnie #53454                           SITE: El Dorado Correctional Facility

Please provide requested information regarding the following complaints: Issues with being enrolled in                                ,..            ~\:;
a certain group/program; staff complaint; issue with receiving supplies.
                                                                                                                                        ',~~--
                                                                                                                                     ....,__, .. , ~-
                                                                                                                                                     :·~':
1.    Did the offender have any consult pertaining to complaint(s)? No If yes, provide documentation.            ,·-·                                 ''


2.    Are there any referral(s) approval/denials pertaining to complaints? No                                   ~-
3.    If there is approval for an outside consult/service, provide name of provider and date of appointment.
      N/A
4.    Was the offender seen by the site dental/physician/psychiatrist regarding his/her complaint? Yes
5.    Has the offender complied with all recommendations? Yes Provide signed witnessed copies of
      refusals.                                                                                            {'-- '"',.___
6.    Provide lab information pertaining to complaint(s). N/A
                                                                                                             ,_
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                                                                                                                  ::::\'
7.    Provide any X-Rays, scans/mammograms if any pertaining to complaint(s). N/A                                 9S·;,                                r
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MARS - Last 30 days.                                                                                             .,.._·~~               'S_;
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PLEASE PROVIDE ADDITIONAL INFORMATION TO THE FOLLOWING QUESTIONS: 'o                                                \1~                     ~~;


      •   What are any diagnoses relating to the concerns? Delusional Disorder; Anxiety What are any :~ 1-~:)
          associated treatment plans? Placed into IRU; seen at least monthly for individual sessions;~):.                                   f\
          group sessions twice a week.                                                                      ..._; ~~!~
      •   Has the offender been assessed by physician regarding concern? N/A If so, what were any
          findings/recommendations?
                                                                                                           '{1
                                                                                                            -:;.· ,\
                                                                                                                                            >
      •   Is a specialty consult indicated for this offender? No If not, why not? Not medically indicated. ~-: ,~
      •   Please provide any other pertinent details relating to the concerns. As a participant in the IRU ~~~ ~-~-
          program, the patient participates in group sessions five times a week. For each group,           ':.:.' .. \:
          there are materials· needed to complete the group activities. Those materials are provided ·.;·{ -:;
          to the patient during the group. Additional supplies are determined by the Multi-                   .:.'; ~
          Disciplinary Services Team, of which the patient is a part. The team determines what other                 · ..
          supplies the patient will receive. The BHAT working with the patient does not use personal
          fund to purchase supplies. Supplies are given only based on the recommendations of the
          treatment team.

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      John Koppenhaver, LCP Health Services Administrator
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                                                  INMATE REQUEST TO STAFF MEMBER




                                                                                                                       To be retained by inmate




Form9
For Cellhouse Transfer
Work Assignment _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                 Last Name Only
Interview Requests

                                              KANSAS DEPARTMENT OF CORRECTIONS


                                                                                                                                     Number
                                           INMATE REQUEST TO STAFF MEMBER
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                                                                                 Date:     I
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                (Name and Title of Officer or Department)
                      State completely but briefly the problem on which you desire assistance. (Be specific.)




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Comment: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Detail or C.H. Officer: -'=-"--"-,,e:...---'=---=~z__-=_.__=-~=----



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                 (Name & Number)


Disposition: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                    Employee's Signature                                                                                   To be returned to inmate.
P-0009
                                                                Case 5:23-cv-03051-JWL Document 1-2 Filed 02/17/23 Page 17 of 24




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MEMO




       DATE:
            TO:
                   1/17/2023
                   Bellamy, Ronnie 53454   ~~
                                             ~~
       FROM:       Chandler Cheeks / Ward~

 SUBJECT:          Grievance



I have received and reviewed your grievance.

Your grievance is being returned to you for failure to follow the grievance procedure as
outlined in KAR 44-15-102.

You must first seek out "Informal Resolution" with your Unit Team Manager, UTM Wagner. A
written form-9 response must be attached to any submitted grievance or the receipt of the
Form 9 if you have not received a response within the 10 day timeline.

44-15-102. Procedure
(a)    Grievance step one: preliminary requirement; informal resolution and problem
      solving at unit team level.
(1)    Each inmate shall first seek information, advice, or help on any matter from the
       inmate's unit team, or from a member of the team. If unable to solve the
       problem, the unit team shall refer the inmate to the proper office or department.

The grievance procedure requires you to attach documentation of attempts at informal
resolution prior to filing a formal grievance (i.e. Form -9s, or other correspondence and
response from staff member.)

Please work with your Unit Team in an attempt to resolve this issue. If those attempts fail, you
may resubmit your grievance with supporting documentation of your attempt at informal
resolution.
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CCifPs Identify Issues Impacting Patient Care I WHAT'S NEW                    https ://www.ncchc.org/blog/cchps-identify-issues-impacting-patien...




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            < back to   all blog posts




            CCHPs Identify Issues Impacting Patient
            Care ·
            From July 13, 2020 in Certification, Health Care, Public Health


            A survey of Certified Correctional Health Professionals (CCHPs) conducted in
            second quarter of 2020 has identified obstacles to patient care from COVID-19 and
            the culture and staffing of correctional institutions. Several experienced CCHPs
            expressed concern over setbacks to medication-assisted treatment programs,
            noting that "Opioid use disorder remains a crisis in our country and it is, critical to
            patient care and saving lives that it continues:'


            How has COVID-19 affected your patient care?
            Top answers: Postpone off-site medical visits and new detainees are being
            quarantined upon entry. 13.8% reported no changes to patient care.




1 of3                                                                                                                       10/30/2020, 11:16 AM
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CCHPs Identify Issues Impacting Patient Care I WHAT'S NEW   https ://www.ncchc.org/blog/cchps-identify-issues-impacting-patien...




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 Form9
 For Cellhouse Transfer
                               !fJJJ
 Work Assignment _ _ _ _ _ _ _ _ _ _ _ __                                                                                                 Last Name Only
 Interview Requests

                                                 KANSAS DEPARTMENT OF CORRECTIONS

                                                                                                                                                 Number
                                             INMATE REQUEST TO STAFF MEMBER
 To:   /Mt/ /i1Ao8WZC(Z                 cer ~
                  (Name and Title of Officer or Department)
                                                                                                            20 _ _ _ _ _ _ __
                                                                                    Date: ~~-'---t-_&_-_l_0_ _
                        State completely but briefly the problem on which you desire assistance. (Be specific.)



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To: _ _ _                C_J{la~[{'-='--'Jt;<-=-tJ....:..>JUAl=-,_ _ __                                                   Date: _ _ _ _ _ _ _ __
                         (Name & Number)




                     Employee's Signature                                                                                       To be returned to inmate.
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